

Matter of Kamal v CureMD.com, Inc. (2020 NY Slip Op 06016)





Matter of Kamal v CureMD.com, Inc.


2020 NY Slip Op 06016


Decided on October 22, 2020


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: October 22, 2020

Before: Renwick, J.P., Manzanet-Daniels, Gesmer, Oing, JJ. 


Index No. 656306/18 Appeal No. 12176-12176A Case No. 2020-00607 

[*1]In re Iman Kamal, individually, as Administratrix of the Estate of Kamal Hashmat, Petitioner-Appellant,
vCureMD.com, Inc., Respondent-Respondent.


Russ &amp; Russ, P.C., Massapequa (Ira Levine of counsel), for appellant.
Loeb &amp; Loeb LLP, New York (Paula K. Colbath of counsel), for respondent.



Orders, Supreme Court, New York County (Robert R. Reed, J.), entered on or about August 2, 2019 and on or about January 15, 2020, which denied petitioner's request for preliminary injunctive relief, for the appointment of a receiver, and for the dissolution of respondent CureMD.com, Inc., unanimously affirmed, without costs.
Supreme Court providently exercised its discretion in denying the order to show cause for a preliminary injunction based on unsubstantiated allegations of corporate mismanagement and a finding that respondent was a profitable going concern (1234 Broadway LLC v West Side SRO Law Project, Goddard Riverside Community Ctr., 86 AD3d 18, 23 [1st Dept 2011]). On this basis, Supreme Court providently exercised its discretion in denying the request for the appointment of a receiver (Matter of Armienti v Brooks, 309 AD2d 659, 661 [1st Dept 2003]). Supreme Court also providently exercised its discretion in denying dissolution because the determination of petitioner's share ownership has yet to be determined, and any allegations of corporate fraud and malfeasance are unsubstantiated and disputed (Business Corporation Law §§ 1104, 1104-a).
THIS CONSTITUTES THE DECISION AND ORDER
OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: October 22, 2020








